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                                                                           Fabio Dworschak
                                                                           Kelley Drye & Warren LLP
                                                                           515 Post Oak Boulevard
                                                                           Suite 900
                                                                           Houston, TX 77027
                                                                           Tel: (713) 355-5032
                                                                           Fax: (713) 355-5001
                                                                           FDworschak@KelleyDrye.com


  April 6, 2022

  By eFile via ECF

  Hon. Patrick J. Hanna, U.S. Magistrate Judge
  800 Lafayette St., Suite 3500
  Lafayette, Louisiana 70501

         Re:      The United States Supreme Court’s Recent Opinion in Thompson v. Clark, No. 20-
                  659 (Apr. 4, 2022)

  Dear Judge Hanna:

         We write to alert the Court to the Supreme Court’s decision in Thompson v. Clark, which
  was issued on April 4, 2022. On April 5, 2022, I communicated our intent to file this letter with
  counsel for defendants. A copy of the Thompson decision is attached.

          In Thompson, the Supreme Court was asked to decide what constitutes a favorable
  termination of a criminal prosecution for purposes of maintaining a Fourth Amendment claim
  under § 1983. No. 20-659, at 1. “To demonstrate a favorable termination of a criminal
  prosecution for purposes of the Fourth Amendment claim under § 1983,” the Supreme Court
  held, “a plaintiff need only show that his prosecution ended without a conviction,” including in a
  claim “for malicious prosecution.” Id. at 2 (emphasis added). In so holding, the Supreme Court
  expressly rejected any requirement that the prosecution end “with some affirmative indication
  of [the plaintiff’s] innocence.” Id. at 1-2.

         Ms. Fogleman-Laxey thanks the Court for considering this letter and the Thompson
  decision in light of the pending motions to dismiss some of her claims.

                                                  Best regards,



                                                  Fabio Dworschak

  FD:ta
  Enclosure
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               (Slip Opinion)              OCTOBER TERM, 2021                                       1

                                                      Syllabus

                        NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                      being done in connection with this case, at the time the opinion is issued.
                      The syllabus constitutes no part of the opinion of the Court but has been
                      prepared by the Reporter of Decisions for the convenience of the reader.
                      See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


               SUPREME COURT OF THE UNITED STATES

                                                      Syllabus

                                    THOMPSON v. CLARK ET AL.

                CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                                 THE SECOND CIRCUIT

                     No. 20–659.     Argued October 12, 2021—Decided April 4, 2022
               In January 2014, petitioner Larry Thompson was living with his fiancée
                 (now wife) and their newborn baby in an apartment in Brooklyn, New
                 York. Thompson’s sister-in-law, who apparently suffered from a men-
                 tal illness, called 911 to report that Thompson was sexually abusing
                 the baby. When Emergency Medical Technicians arrived, Thompson
                 denied that anyone had called 911. When the EMTs returned with
                 four police officers, Thompson told them that they could not enter with-
                 out a warrant. The police nonetheless entered and handcuffed Thomp-
                 son. EMTs took the baby to the hospital where medical professionals
                 examined her and found no signs of abuse. Meanwhile, Thompson was
                 arrested and charged with obstructing governmental administration
                 and resisting arrest. He was detained for two days before being re-
                 leased. The charges against Thompson were dismissed before trial
                 without any explanation by the prosecutor or judge. After the dismis-
                 sal, Thompson filed suit under 42 U. S. C. §1983, alleging several con-
                 stitutional violations, including a Fourth Amendment claim for mali-
                 cious prosecution. To maintain that Fourth Amendment claim under
                 §1983, a plaintiff such as Thompson must demonstrate, among other
                 things, that he obtained a favorable termination of the underlying
                 criminal prosecution. To meet that requirement, Second Circuit prec-
                 edent required Thompson to show that his criminal prosecution ended
                 not merely without a conviction, but also with some affirmative indi-
                 cation of his innocence. See Lanning v. Glens Falls, 908 F. 3d 19, 22.
                 The District Court, bound by Lanning, held that Thompson’s criminal
                 case had not ended in a way that affirmatively indicated his innocence
                 because Thompson could not offer any substantial evidence to explain
                 why his case was dismissed. The Second Circuit affirmed the dismis-
                 sal of Thompson’s claim. This Court granted certiorari to resolve a
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                                                Syllabus

                   split among the Courts of Appeals over how to apply the favorable ter-
                   mination requirement of the Fourth Amendment claim under §1983
                   for malicious prosecution.
               Held: To demonstrate a favorable termination of a criminal prosecution
                for purposes of the Fourth Amendment claim under §1983 for mali-
                cious prosecution, a plaintiff need not show that the criminal prosecu-
                tion ended with some affirmative indication of innocence. A plaintiff
                need only show that his prosecution ended without a conviction.
                Thompson has satisfied that requirement here. Pp. 4–12.
                   (a) To determine the elements of a constitutional claim under §1983,
                this Court’s practice is to first look to the elements of the most analo-
                gous tort as of 1871 when §1983 was enacted, so long as doing so is
                consistent with “the values and purposes of the constitutional right at
                issue.” Manuel v. Joliet, 580 U. S. 357, 370. Here, as most of the
                Courts of Appeals to consider the question have determined, the most
                analogous tort to this Fourth Amendment claim is malicious prosecu-
                tion. Pp. 4–7.
                   (b) In accord with the elements of the malicious prosecution tort, a
                Fourth Amendment claim under §1983 for malicious prosecution re-
                quires the plaintiff to show a favorable termination of the underlying
                criminal case against him. The parties to this case, as well as the lower
                courts, disagree about what a favorable termination entails, i.e., is it
                sufficient to show that Thompson’s prosecution ended without a con-
                viction or must he also show that his prosecution ended with some af-
                firmative indication of innocence? To resolve that disagreement, the
                Court looks to American malicious prosecution tort law as of 1871. At
                that time, most American courts agreed that the favorable termination
                element of a malicious prosecution claim was satisfied so long as the
                prosecution ended without a conviction. A plaintiff could maintain a
                malicious prosecution claim when, for example, the prosecutor aban-
                doned the criminal case or the court dismissed the case without provid-
                ing a reason.
                   The American tort-law consensus as of 1871 did not require a plain-
                tiff in a malicious prosecution suit to show that his prosecution ended
                with an affirmative indication of innocence, and this Court similarly
                construes Thompson’s Fourth Amendment claim under §1983 for ma-
                licious prosecution. Doing so is consistent with “the values and pur-
                poses” of the Fourth Amendment. Manuel, 580 U. S., at 370. Ques-
                tions concerning whether a criminal defendant was wrongly charged,
                or whether an individual may seek redress for a wrongful prosecution,
                cannot reasonably depend on whether the prosecutor or court hap-
                pened to explain why charges were dismissed. And requiring a plain-
                tiff to show that his prosecution ended with an affirmative indication
                of innocence is not necessary to protect officers from unwarranted civil
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                                               Syllabus

                 suits, as officers are still protected by the requirement that the plain-
                 tiff show the absence of probable cause and by qualified immunity.
                 Pp. 7–11.
               794 Fed. Appx. 140, reversed and remanded.

                  KAVANAUGH, J., delivered the opinion of the Court, in which ROBERTS,
               C. J., and BREYER, SOTOMAYOR, KAGAN, and BARRETT, JJ., joined. ALITO,
               J., filed a dissenting opinion, in which THOMAS and GORSUCH, JJ., joined.
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                                             Opinion of the Court

                    NOTICE: This opinion is subject to formal revision before publication in the
                    preliminary print of the United States Reports. Readers are requested to
                    notify the Reporter of Decisions, Supreme Court of the United States, Wash-
                    ington, D. C. 20543, of any typographical or other formal errors, in order that
                    corrections may be made before the preliminary print goes to press.


               SUPREME COURT OF THE UNITED STATES
                                                   _________________

                                                    No. 20–659
                                                   _________________


                           LARRY THOMPSON, PETITIONER v.
                                PAGIEL CLARK, ET AL.
                ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                          APPEALS FOR THE SECOND CIRCUIT
                                                  [April 4, 2022]

                  JUSTICE KAVANAUGH delivered the opinion of the Court.
                  Larry Thompson was charged and detained in state crim-
               inal proceedings, but the charges were dismissed before
               trial without any explanation by the prosecutor or judge.
               After the dismissal, Thompson alleged that the police offic-
               ers who initiated the criminal proceedings had “maliciously
               prosecuted” him without probable cause. App. 33–34.
               Thompson sued and sought money damages from those of-
               ficers in federal court. As relevant here, he advanced a
               Fourth Amendment claim under 42 U. S. C. §1983 for ma-
               licious prosecution.
                  To maintain that Fourth Amendment claim under §1983,
               a plaintiff such as Thompson must demonstrate, among
               other things, that he obtained a favorable termination of the
               underlying criminal prosecution. Cf. Heck v. Humphrey,
               512 U. S. 477, 484, and n. 4 (1994). This case requires us to
               flesh out what a favorable termination entails. Does it suf-
               fice for a plaintiff to show that his criminal prosecution
               ended without a conviction? Or must the plaintiff also
               demonstrate that the prosecution ended with some affirm-
               ative indication of his innocence, such as an acquittal or a
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                                    Opinion of the Court

               dismissal accompanied by a statement from the judge that
               the evidence was insufficient?
                  We conclude as follows: To demonstrate a favorable ter-
               mination of a criminal prosecution for purposes of the
               Fourth Amendment claim under §1983 for malicious prose-
               cution, a plaintiff need only show that his prosecution
               ended without a conviction. Thompson satisfied that re-
               quirement in this case. We therefore reverse the judgment
               of the U. S. Court of Appeals for the Second Circuit and re-
               mand for further proceedings consistent with this opinion.
                                             I
                 Larry Thompson lived with his fiancée (now wife) and
               their newborn baby girl in an apartment in Brooklyn, New
               York. In January 2014, Thompson’s sister-in-law was also
               staying there. The sister-in-law apparently suffered from a
               mental illness. One day that January, the sister-in-law
               called 911 and claimed that Thompson was sexually abus-
               ing his one-week-old baby daughter. Two Emergency Med-
               ical Technicians promptly responded. When the EMTs ar-
               rived at the family’s apartment, Thompson asked the EMTs
               why they were there and denied that anyone had called 911.
               The EMTs left and informed the police of the situation.
                 The EMTs and four police officers then returned to the
               apartment. When they arrived, Thompson told them that
               they could not come in without a warrant. The police offic-
               ers nonetheless entered and, after a brief scuffle, hand-
               cuffed Thompson. The EMTs followed the officers into the
               apartment and examined the baby. After finding red marks
               on the baby’s body, the EMTs took the baby to the hospital
               for evaluation. The marks turned out to be a case of diaper
               rash. The medical professionals found no signs of abuse.
                 Meanwhile, the police officers arrested Thompson for re-
               sisting their entry into the apartment. Thompson was
               taken to a local hospital and then to jail. While Thompson
               was in custody, one of the police officers prepared and filed
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                                    Opinion of the Court

               a criminal complaint charging Thompson with obstructing
               governmental administration and resisting arrest. Thomp-
               son remained in custody for two days. A judge then re-
               leased him on his own recognizance.
                 Before trial, the prosecution moved to dismiss the
               charges, and the trial judge in turn dismissed the case. The
               prosecutor did not explain why she sought to dismiss the
               charges, nor did the trial judge explain why he dismissed
               the case.
                 After the criminal prosecution ended, Thompson brought
               suit for damages under 42 U. S. C. §1983 against the police
               officers who had arrested and charged him. Thompson al-
               leged several constitutional violations, including a Fourth
               Amendment claim for “malicious prosecution.” App. 33.
               Thompson asserted that the officers “maliciously prose-
               cuted” him and “subjected him to an unlawful, illegal and
               excessive detention” in violation of his Fourth Amendment
               rights. Id., at 34.
                  To prevail on that claim under Second Circuit precedent,
               Thompson had to show that his criminal prosecution ended
               not merely without a conviction, but also with some affirm-
               ative indication of his innocence. See Lanning v. Glens
               Falls, 908 F. 3d 19, 22 (2018). Thompson could not put forth
               any substantial evidence that would explain why the pros-
               ecutor had moved to dismiss the charges or why the trial
               court had dismissed the charges. Therefore, the District
               Court ruled that Thompson’s criminal case had not ended
               in a way that affirmatively indicated his innocence. The
               District Court granted judgment to the defendant officers
               on that Fourth Amendment claim. Notably, the District
               Court also opined that the relevant Second Circuit prece-
               dent “can and should be changed” to say that a favorable
               termination occurs so long as the prosecution ends without
               a conviction. 364 F. Supp. 3d 178, 181, 196–197 (EDNY
               2019). On appeal, however, the U. S. Court of Appeals for
               the Second Circuit adhered to its precedent in Lanning and
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               affirmed the dismissal of Thompson’s Fourth Amendment
               claim. 794 Fed. Appx. 140 (2020).
                  The Courts of Appeals have split over how to apply the
               favorable termination requirement of the Fourth Amend-
               ment claim under §1983 for malicious prosecution. In ad-
               dition to the Second Circuit, some other Courts of Appeals
               have held that a favorable termination requires some af-
               firmative indication of innocence. See, e.g., Kossler v.
               Crisanti, 564 F. 3d 181, 187 (CA3 2009) (en banc); Cordova
               v. Albuquerque, 816 F. 3d 645, 649 (CA10 2016). By con-
               trast, the Eleventh Circuit has held that a favorable termi-
               nation occurs so long as the criminal prosecution ends with-
               out a conviction. See Laskar v. Hurd, 972 F. 3d 1278, 1282
               (2020). This Court granted certiorari to resolve the split.
               592 U. S. ___ (2021).
                                              II
                                              A
                  In 1871, Congress passed and President Grant signed the
               Civil Rights Act of 1871. Section 1 of that Act, now codified
               at 42 U. S. C. §1983, created a species of federal tort liabil-
               ity for individuals to sue state and local officers for depriva-
               tions of constitutional rights.
                  In this case, Thompson sued several police officers under
               §1983, alleging that he was “maliciously prosecuted” with-
               out probable cause and that he was seized as a result. App.
               33–34. He brought a Fourth Amendment claim under
               §1983 for malicious prosecution, sometimes referred to as a
               claim for unreasonable seizure pursuant to legal process.
               This Court’s precedents recognize such a claim. See Manuel
               v. Joliet, 580 U. S. 357, 363–364, 367–368 (2017); Albright
               v. Oliver, 510 U. S. 266, 271 (1994) (plurality opinion); see
               also id., at 290–291 (Souter, J., concurring in judgment).
               And following this Court’s precedents, the District Courts
               and Courts of Appeals have decided numerous cases involv-
               ing Fourth Amendment claims under §1983 for malicious
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               prosecution. See, e.g., Pitt v. District of Columbia, 491 F. 3d
               494, 510–511 (CADC 2007) (“[N]early every other Circuit
               has held that malicious prosecution is actionable under the
               Fourth Amendment to the extent that the defendant’s ac-
               tions cause the plaintiff to be ‘seized’ without probable
               cause”); Kossler, 564 F. 3d, at 186–187; Sykes v. Anderson,
               625 F. 3d 294, 308–309 (CA6 2010); Durham v. Horner, 690
               F. 3d 183, 188 (CA4 2012); Myers v. Koopman, 738 F. 3d
               1190, 1194 (CA10 2013); Winfrey v. Rogers, 901 F. 3d 483,
               491–493 (CA5 2018); Lanning, 908 F. 3d, at 28; Jordan v.
               Waldoboro, 943 F. 3d 532, 545 (CA1 2019); Williams v.
               Aguirre, 965 F. 3d 1147, 1157 (CA11 2020).1
                  The narrow dispute in this case concerns one element of
               the Fourth Amendment claim under §1983 for malicious
               prosecution. To determine the elements of a constitutional
               claim under §1983, this Court’s practice is to first look to
               the elements of the most analogous tort as of 1871 when
               §1983 was enacted, so long as doing so is consistent with
               “the values and purposes of the constitutional right at is-
               sue.” Manuel, 580 U. S., at 370; see also Nieves v. Bartlett,
               587 U. S. ___, ___ (2019) (slip op., at 12); Heck, 512 U. S., at
               483.2
                  Here, as most of the Courts of Appeals to consider the

               ——————
                  1 Thompson also brought a Fourth Amendment claim for unreasonable

               seizure (labeled a false arrest claim), based on his initial arrest before
               charges were filed against him. But the jury ruled against him on the
               merits of that claim. That claim is not before us, and we therefore do not
               consider it.
                  2 Because this claim is housed in the Fourth Amendment, the plaintiff

               also has to prove that the malicious prosecution resulted in a seizure of
               the plaintiff. See Manuel v. Joliet, 580 U. S. 357, 365–366 (2017). It has
               been argued that the Due Process Clause could be an appropriate ana-
               lytical home for a malicious prosecution claim under §1983. See Albright
               v. Oliver, 510 U. S. 266, 281, 286 (1994) (Kennedy, J., concurring in judg-
               ment). If so, the plaintiff presumably would not have to prove that he
               was seized as a result of the malicious prosecution. But we have no oc-
               casion to consider such an argument here.
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                question have determined, the most analogous tort to this
                Fourth Amendment claim is malicious prosecution. See
                Kossler, 564 F. 3d, at 186; Sykes, 625 F. 3d, at 308–309;
                Durham, 690 F. 3d, at 188; Myers, 738 F. 3d, at 1194; Lan-
                ning, 908 F. 3d, at 28; Jordan, 943 F. 3d, at 545. That is
                because the gravamen of the Fourth Amendment claim for
                malicious prosecution, as this Court has recognized it, is the
                wrongful initiation of charges without probable cause. And
                the wrongful initiation of charges without probable cause is
                likewise the gravamen of the tort of malicious prosecution.
                   In American courts as of 1871, the malicious prosecution
                tort generally allowed recovery against an individual who
                had initiated or caused the initiation of criminal proceed-
                ings despite having “no good reason to believe” that crimi-
                nal charges were “justified by the facts and the law.” T.
                Cooley, Law of Torts 180 (1880) (Cooley); see also 1 F. Hil-
                liard, The Law of Torts or Private Wrongs 412–414 (1866)
                (Hilliard). The malicious prosecution tort protected against
                “injury to the person, as connected with false imprison-
                ment” and against “a wrong to character or reputation.” Id.,
                at 412 (emphasis deleted).
                   American courts described the elements of the malicious
                prosecution tort as follows: (i) the suit or proceeding was
                “instituted without any probable cause”; (ii) the “motive in
                instituting” the suit “was malicious,” which was often de-
                fined in this context as without probable cause and for a
                purpose other than bringing the defendant to justice; and
                (iii) the prosecution “terminated in the acquittal or dis-
                charge of the accused.” Cooley 181.3
                   That third requirement—a favorable termination of the
                underlying criminal prosecution—is the focus of the parties’
                dispute in this case.

                ——————
                  3 We need not decide whether a plaintiff bringing a Fourth Amend-

                ment claim under §1983 for malicious prosecution must establish malice
                (or some other mens rea) in addition to the absence of probable cause.
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                                                B
                   In accord with the elements of the malicious prosecution
                tort, a Fourth Amendment claim under §1983 for malicious
                prosecution requires the plaintiff to show a favorable termi-
                nation of the underlying criminal case against him. The
                favorable termination requirement serves multiple pur-
                poses: (i) it avoids parallel litigation in civil and criminal
                proceedings over the issues of probable cause and guilt;
                (ii) it precludes inconsistent civil and criminal judgments
                where a claimant could succeed in the tort action after hav-
                ing been convicted in the criminal case; and (iii) it prevents
                civil suits from being improperly used as collateral attacks
                on criminal proceedings. Cf. Heck, 512 U. S., at 484–485;
                see also McDonough v. Smith, 588 U. S. ___, ___ (2019) (slip
                op., at 7).
                   The parties to this case disagree about what a favorable
                termination entails. In particular, does it suffice for a
                plaintiff to show that his prosecution ended without a con-
                viction? Or must the plaintiff also show that his prosecu-
                tion ended with some affirmative indication of innocence,
                such as an acquittal or a dismissal accompanied by a state-
                ment from the judge that the evidence was insufficient?
                   To resolve that disagreement, we must look to American
                malicious prosecution tort law as of 1871. See Nieves, 587
                U. S., at ___ (slip op., at 12). In most American courts that
                had considered the question as of 1871, the favorable ter-
                mination element of a malicious prosecution claim was sat-
                isfied so long as the prosecution ended without a conviction.
                As one influential New York decision explained, when the
                individual was “convicted in the suit or proceeding com-
                plained of,” he could not maintain an action for malicious
                prosecution. Clark v. Cleveland, 6 Hill 344, 346, n. a (1844).
                But when the individual was not convicted, the “question
                is, whether the prosecution instituted by the defendant can
                be said to have been terminated, disposed of, or, as the
                books usually say, at an end.” Id., at 346. The “technical
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                prerequisite is only that the particular prosecution be dis-
                posed of in such a manner” that it “cannot be revived.” Id.,
                at 347; Bacon v. Waters, 84 Mass. 400, 401–402 (1861); M.
                Newell, Law of Malicious Prosecution 327–328 (1892)
                (Newell).
                   On that point, American courts as of 1871 were largely in
                agreement. To take one example, the Supreme Court of In-
                diana ruled that a dismissal satisfied the favorable termi-
                nation requirement because it marked “an end to further
                proceedings against the defendant” on the charges. Chap-
                man v. Woods, 6 Blackf. 504, 505–506 (1843). Similarly, the
                Supreme Court of Tennessee concluded that a suit was
                proper when “the prosecution was at an end.” Pharis v.
                Lambert, 33 Tenn. 228, 232 (1853).
                   For that reason, a plaintiff could maintain a malicious
                prosecution claim when, for example, the prosecutor aban-
                doned the criminal case or the court dismissed the case
                without providing a reason. See, e.g., Fay v. O’Neill, 36
                N. Y. 11, 13 (1867); Murray v. Lackey, 6 N. C. 368, 368–369
                (1818); Driggs v. Burton, 44 Vt. 124, 143–144 (1871); Brown
                v. Randall, 36 Conn. 56, 61–63 (1869); Chapman, 6 Blackf.,
                at 505–506; Sayles v. Briggs, 45 Mass. 421, 425–426 (1842);
                Yocum v. Polly, 40 Ky. 358, 359 (1841); Burhans v. Sanford,
                19 Wend. 417, 418 (N. Y. 1838); Cotton v. Wilson, Minor 203
                (Ala. 1824).
                   Several courts explicitly added, moreover, that a favora-
                ble termination did not require an acquittal or a dismissal
                accompanied by some affirmative indication of innocence.
                In the words of one court, it “is not to be understood, that
                an action, for a malicious prosecution, will not lie, unless
                the party has been acquitted by a jury on trial.” Thomas v.
                DeGraffenreid, 11 S. C. L. 143, 144–145 (1819). “On the
                contrary, a person may have his action after a bill rejected
                by the grand jury, or even where no bill has been preferred,
                if there is a final end of the prosecution, and the party dis-
                charged.” Id., at 145; see also Chapman, 6 Blackf., at 505–
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                506.
                   The treatises of that era agreed that a favorable termina-
                tion occurred so long as the prosecution ended without con-
                viction. Cooley’s tort-law treatise stated, for example, that
                “the reasonable rule seems to be, that the technical prereq-
                uisite is only that the particular prosecution be disposed of
                in such a manner that this cannot be revived, and the pros-
                ecutor, if he proceeds further, will be put to a new one.”
                Cooley 186; see also Newell 343 (expressing approval of the
                rule); Hilliard 453, and n. 5 (recognizing the rule).
                   The parties to this case have identified only one court
                that required something more, such as an acquittal or a dis-
                missal accompanied by some affirmative indication of inno-
                cence. In 1863, the Rhode Island Supreme Court concluded,
                “with reluctance,” that “ ‘the termination must be such as to
                furnish prima facie evidence that the action was without
                foundation.’ ” Rounds v. Humes, 7 R. I. 535, 537 (1863). But
                Rhode Island stood as an outlier on that question. The
                other American courts to consider the issue did not require
                some affirmative indication of innocence in order for a ma-
                licious prosecution tort claim to proceed. The courts simply
                required that the prosecution ended in the defendant’s fa-
                vor. As Chief Judge Pryor explained in his comprehensive
                opinion for the Eleventh Circuit in Laskar v. Hurd, 972
                F. 3d, at 1287: “The clear majority of American courts did
                not limit favorable terminations to those that suggested the
                accused’s innocence.”
                   Against that body of precedent and historical practice, re-
                spondent Clark contends that American courts as of 1871
                had not settled on any particular favorable termination
                rule. But the cases and treatises that respondent latches
                onto addressed a separate issue—not whether the prosecu-
                tion had terminated in the defendant’s favor, but whether
                the prosecution had terminated at all. In particular, courts
                divided over whether a prosecutor’s dismissal without dis-
                charge by a judge in fact terminated a prosecution. Some
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                courts concluded that a prosecution ended when the prose-
                cutor dismissed the case, even if the court had not yet taken
                action. See, e.g., Woodman v. Prescott, 66 N. H. 375, 376–
                377 (1890); see also 1 F. Hilliard, The Law of Torts or Pri-
                vate Wrongs 475 (1874); Newell 327–328; Cooley 186.
                Other courts said that a prosecution did not end until a
                judge discharged, or formally released, the defendant from
                the case. See, e.g., DeGraffenreid, 11 S. C. L., at 145; Pau-
                kett v. Livermore, 5 Iowa 277, 282 (1857).
                   But those cases did not purport to alter the basic favora-
                ble termination principle—namely, that a malicious prose-
                cution claim could proceed when the prosecution termi-
                nated without a conviction.
                   Respondent also seizes on a comment in the American
                Law Institute’s 1976 Second Restatement of Torts (as have
                most of the Courts of Appeals that have sided with respond-
                ent’s position on this issue). See Jordan, 943 F. 3d, at 545–
                546; Lanning, 908 F. 3d, at 26; Salley v. Myers, 971 F. 3d
                308, 312–313 (CA4 2020); Jones v. Clark Cty., 959 F. 3d
                748, 763–765 (CA6 2020); Cordova, 816 F. 3d, at 651. The
                comment in the Second Restatement opined that, for pur-
                poses of a malicious prosecution claim, a criminal case ter-
                minates “in favor of the accused” when the prosecution ends
                in a way “as to indicate the innocence of the accused.” Re-
                statement (Second) of Torts §660, and Comment a (1976).
                   But respondent’s reliance on the 1976 Restatement is
                flawed because the Restatement did not purport to describe
                the consensus of American law as of 1871, at least on that
                question. The status of American law as of 1871 is the rel-
                evant inquiry for our purposes. See Manuel, 580 U. S., at
                370; Nieves, 587 U. S., at ___ (slip op., at 12); Laskar, 972
                F. 3d, at 1286. And in the overwhelming majority of Amer-
                ican jurisdictions that had considered the issue as of 1871,
                a plaintiff alleging malicious prosecution did not need to
                show that his prosecution had ended with some affirmative
                indication of innocence.
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                                     Opinion of the Court

                   Because the American tort-law consensus as of 1871 did
                not require a plaintiff in a malicious prosecution suit to
                show that his prosecution ended with an affirmative indi-
                cation of innocence, we similarly construe the Fourth
                Amendment claim under §1983 for malicious prosecution.
                Doing so is consistent, moreover, with “the values and pur-
                poses” of the Fourth Amendment. Manuel, 580 U. S., at
                370. The question of whether a criminal defendant was
                wrongly charged does not logically depend on whether the
                prosecutor or court explained why the prosecution was dis-
                missed. And the individual’s ability to seek redress for a
                wrongful prosecution cannot reasonably turn on the fortu-
                ity of whether the prosecutor or court happened to explain
                why the charges were dismissed. In addition, requiring the
                plaintiff to show that his prosecution ended with an affirm-
                ative indication of innocence would paradoxically foreclose
                a §1983 claim when the government’s case was weaker and
                dismissed without explanation before trial, but allow a
                claim when the government’s evidence was substantial
                enough to proceed to trial. That would make little sense.
                Finally, requiring a plaintiff to show that his prosecution
                ended with an affirmative indication of innocence is not nec-
                essary to protect officers from unwarranted civil suits—
                among other things, officers are still protected by the re-
                quirement that the plaintiff show the absence of probable
                cause and by qualified immunity.
                                         *    *    *
                   In sum, we hold that a Fourth Amendment claim under
                §1983 for malicious prosecution does not require the plain-
                tiff to show that the criminal prosecution ended with some
                affirmative indication of innocence. A plaintiff need only
                show that the criminal prosecution ended without a convic-
                tion. Thompson has satisfied that requirement here. We
                express no view, however, on additional questions that may
                be relevant on remand, including whether Thompson was
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                                     Opinion of the Court

                ever seized as a result of the alleged malicious prosecution,
                whether he was charged without probable cause, and
                whether respondent is entitled to qualified immunity. On
                remand, the Second Circuit or the District Court as appro-
                priate may consider those and other pertinent questions.
                We reverse the judgment of the U. S. Court of Appeals for
                the Second Circuit and remand for further proceedings con-
                sistent with this opinion.

                                                             It is so ordered.
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                                      LITO, J., concurring
                                     ALITO      dissenting

                SUPREME COURT OF THE UNITED STATES
                                         _________________

                                          No. 20–659
                                         _________________


                          LARRY THOMPSON, PETITIONER v.
                               PAGIEL CLARK, ET AL.
                 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                           APPEALS FOR THE SECOND CIRCUIT
                                        [April 4, 2022]

                   JUSTICE ALITO, with whom JUSTICE THOMAS and
                JUSTICE GORSUCH join, dissenting.
                   Homer described the mythical chimera as a “grim mon-
                ster” made of “all lion in front, all snake behind, all goat
                between.” The Iliad p. 201 (R. Fagles trans. 1990). Today,
                the Court creates a chimera of a constitutional tort by
                stitching together elements taken from two very different
                claims: a Fourth Amendment unreasonable seizure claim
                and a common-law malicious-prosecution claim.
                   The Court justifies this creation on the ground that mali-
                cious prosecution is the common-law tort that is most anal-
                ogous to an unreasonable seizure claim. And because a
                common-law malicious-prosecution claim demanded proof
                of a favorable termination, the Court holds that its new cre-
                ation includes that element. But this Court has never held
                that the Fourth Amendment houses a malicious-prosecu-
                tion claim, and the Court defends its analogy with just two
                sentences of independent analysis and a reference to a body
                of lower court cases.
                   I cannot agree with that approach. The Court’s independ-
                ent analysis of this important question is far too cursory,
                and its reliance on lower court cases is particularly ill-ad-
                vised here because that body of case law appears to have
                been heavily influenced by a mistaken reading of the plu-
                rality opinion in Albright v. Oliver, 510 U. S. 266 (1994).
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                   What the Court has done is to recognize a novel hybrid
                claim of uncertain scope that has no basis in the Constitu-
                tion and is almost certain to lead to confusion.
                                            I
                  The Court asserts that malicious prosecution is the com-
                mon-law tort that is most analogous to petitioner’s Fourth
                Amendment claim, ante, at 5, but in fact the Fourth Amend-
                ment and malicious prosecution have almost nothing in
                common.
                                                A
                   The Fourth Amendment prohibits “unreasonable
                searches and seizures.” And a Fourth Amendment claim
                based on an unreasonable seizure has two indispensable
                elements: (i) there must have been a “seizure,” i.e., an arrest
                or some other use of “ ‘physical force’ or a ‘show of authority’
                that ‘in some way restrain[s] the liberty’ of [a] person,”
                Torres v. Madrid, 592 U. S. ___, ___ (2021) (slip op., at 3),
                and (ii) the seizure must have been “unreasonable,” which
                means, in the case of a full-blown arrest, that the officers
                making the arrest must have lacked probable cause. Dis-
                trict of Columbia v. Wesby, 583 U. S. ___, ___ (2018) (slip
                op., at 7).
                   Malicious prosecution, on the other hand, requires proof
                that “(i) the suit or proceeding was ‘instituted without any
                probable cause;’ (ii) the ‘motive in instituting’ the suit ‘was
                malicious . . . ; and (iii) the prosecution ‘terminated in the
                acquittal or discharge of the accused.’ ” Ante, at 6 (quoting
                T. Cooley, Law of Torts 180 (1880) (Cooley)); see also Ma-
                nuel v. Joliet, 580 U. S. 357, 378 (2017) (ALITO, J., dissent-
                ing).
                   A comparison of the elements of the malicious-prosecution
                tort with the elements of a Fourth Amendment unreasona-
                ble-seizure claim shows that there is no overlap. That is, a
                plaintiff suing for unreasonable seizure need not prove any
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                                       ALITO, J., dissenting

                of the elements of common-law malicious prosecution, and
                a plaintiff suing for common-law malicious prosecution
                need not prove any of the elements required to establish an
                unreasonable seizure.
                   Start with the elements of an unreasonable-seizure
                claim. Such a claim does not require proof that there was a
                “prosecution”—i.e., a criminal proceeding that is initiated
                by the filing of charges in the form of a criminal complaint,
                information, or indictment—while a malicious-prosecution
                claim obviously requires a prosecution. See, e.g., 1 F. Hilli-
                ard, The Law of Torts or Private Wrongs §2, pp. 413–414
                (1866) (Hilliard) (“The general principle is laid down, that
                an action lies for maliciously causing one to be indicted,
                whereby he is damnified, either in person, reputation, or
                property” (emphasis added)); Cooley 180 (“[I]t is a duty
                which every man owes to every other not to institute pro-
                ceedings maliciously, which he has no good reason to believe
                are justified by the facts and the law” (emphasis added));
                M. Newell, Law of Malicious Prosecution, False Imprison-
                ment, and Abuse of Process §1, p. 3 (1892) (Newell) (same);
                see also W. Prosser, Law of Torts 860 (1941) (“The interest
                in freedom from unjustifiable litigation is protected by an
                action for malicious prosecution” (boldface deleted and em-
                phasis added)). A person who is arrested without probable
                cause may have a viable unreasonable-seizure claim even if
                he or she is released before any charges are filed.
                   An unreasonable-seizure claim also does not require
                “malice.” The Court has “almost uniformly rejected invita-
                tions to probe subjective intent” in Fourth Amendment
                cases. Ashcroft v. al-Kidd, 563 U. S. 731, 737 (2011). If a
                law enforcement officer makes an arrest without probable
                cause, the arrest is unreasonable and therefore unconstitu-
                tional even if the officer harbors no ill will for the arrestee.
                Likewise, if an officer makes an arrest with probable cause,
                there is no Fourth Amendment violation regardless of the
                “actual motivations of the individual officers involved.”
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                                      ALITO, J., dissenting

                Whren v. United States, 517 U. S. 806, 813 (1996); see also
                Cordova v. Albuquerque, 816 F. 3d 645, 664 (CA10 2016)
                (Gorsuch, J., concurring in judgment).
                   Finally, the validity of an unreasonable-seizure claim is
                not dependent on the outcome of any prosecution that hap-
                pens to follow a seizure. A person who is arrested without
                probable cause but then convicted based on evidence discov-
                ered after the arrest is not barred from recovering simply
                because he or she cannot show a favorable termination to
                the proceeding. See Wallace v. Kato, 549 U. S. 384, 389–
                392 (2007); cf. Heck v. Humphrey, 512 U. S. 477, 487, n. 7
                (1994) (a person may bring “a suit for damages attributable
                to an allegedly unreasonable search” even if he or she was
                convicted). Thus, an unreasonable-seizure claim may be
                shown without proving any of the elements of a common-
                law malicious-prosecution claim.
                   Turning now to the elements of malicious prosecution, we
                see that all of those may be established without proving ei-
                ther of the two elements that the constitutional text and our
                precedents require in order to establish an unreasonable
                seizure.
                   First, the tort of malicious prosecution does not require a
                seizure within the meaning of the Fourth Amendment.
                There are cases in which defendants charged with non-
                violent crimes agree to appear for arraignment and are then
                released pending trial on their own recognizance. These de-
                fendants are prosecuted, and they may bring a common-law
                suit for malicious prosecution if the other elements of that
                tort can be shown, but they are not seized. See, e.g., 1 Hil-
                liard §1, at 412 (noting that malicious prosecution may in-
                volve “injury to the person, as connected with false impris-
                onment,” but is “primarily . . . a wrong to character or
                reputation”); 3 D. Dobbs, The Law of Torts §586, p. 388
                (2011) (the “prosecution does not necessarily involve any
                detention of the plaintiff at all”). The term seizure would
                have to be given a novel and extravagant interpretation in
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                order to reach a “defendant awaiting trial on his own recog-
                nizance” or one who simply receives a “summons to appear
                at trial.” Cordova, 816 F. 3d, at 663 (opinion of Gorsuch,
                J.).
                  Second, since a malicious-prosecution claim does not re-
                quire a seizure, it obviously does not require proof that the
                person bringing suit was seized without probable cause.
                The claim does demand proof that the person bringing suit
                was prosecuted without probable cause, but probable cause
                at the time of arrest is a different question from probable
                cause at the time at which a prosecution is initiated.
                  In light of the differences between these two claims, it is
                apparent that a Fourth Amendment unreasonable-seizure
                claim is not analogous to a claim for malicious prosecution.
                Much more analogous are the common-law torts of false ar-
                rest and false imprisonment, which protect against “[e]very
                confinement of the person,” including one effected by “forci-
                bly detaining [someone] in the public streets.” Wallace, 549
                U. S., at 388–389 (internal quotation marks omitted); see
                also Dobbs, Law of Torts §41 (describing elements of false
                imprisonment and false arrest); Restatement (Second) of
                Torts §35 (1964) (same).
                                            B
                  The Court does not make a serious effort to justify its
                analogy between unreasonable seizure and malicious pros-
                ecution. Instead, the Court largely relies on the fact that
                “most of the Courts of Appeals to consider the question”
                have drawn that analogy, ante, at 6, but the Court ignores
                contrary lower court authority. See, e.g., Manuel v. Joliet,
                903 F. 3d 667, 670 (CA7 2018); Jones v. Clark County, 959
                F. 3d 748, 776–777 (CA6 2020) (Murphy, J., concurring in
                part); Pagan-Gonzalez v. Moreno, 919 F. 3d 582, 608–617
                (CA1 2019) (Barron, J., concurring). But in any event, we
                should not decide this important question without inde-
                pendent analysis, and the Court’s own cursory analysis is
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                erroneous.
                   The Court claims that the “gravamen” of petitioner’s
                Fourth Amendment claim is the same as that of a mali-
                cious-prosecution claim: the “wrongful initiation of charges
                without probable cause.” Ante, at 6. But what the Court
                describes is not a Fourth Amendment violation at all. As
                explained, that Amendment protects against “unreasonable
                searches and seizures”—not the unreasonable “initiation of
                charges.” In fact, “the specific provisions of the Bill of
                Rights neither impose a standard for the initiation of a
                prosecution” nor “require a pretrial hearing to weigh evi-
                dence according to a given standard.” Albright, 510 U. S.,
                at 282 (Kennedy, J., concurring in judgment); see also 4 W.
                LaFave, J. Israel, N. King, & O. Kerr, Criminal Procedure
                §14.2(a), pp. 329, 331 (4th ed. 2015) (noting that the Con-
                stitution does not require “screening” of the decision to pros-
                ecute “by some neutral body” to ensure “some minimal evi-
                dence supporting the charge,” and “the sole constitutional
                protection” is “what the Fourth Amendment requires to jus-
                tify physical restraints”).
                   The Court also says that the initiation of charges must be
                “wrongful,” but it is not clear what that means. If that term
                simply refers to the lack of probable cause, then the Court
                has failed to capture the “gravamen” of malicious prosecu-
                tion because that tort requires not just that the defendant
                initiated charges “without probable cause” but also—as the
                name of the tort suggests—that this was done with “mal-
                ice.” See 1 Hilliard §4, at 416 (“want of probable cause” is
                not enough “without malice”); 1 Newell §6, at 7 (“The plain-
                tiff must show that the defendant acted from malicious mo-
                tives in prosecuting him”). Cf. ante, at 6, n. 5 (claiming to
                reserve the question whether the claim requires malice).
                   If, on the other hand, the Court uses the term “wrongful”
                to require “malice,” then the claim it has endorsed is even
                more incompatible with the Fourth Amendment, which al-
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                most always imposes a purely objective standard. See su-
                pra, at 4.
                                            II
                   The Court’s recognition of a Fourth Amendment mali-
                cious-prosecution claim has no basis in our precedents.
                                              A
                   The Court relies on certain lower court decisions that ac-
                cepted the strange concept of a Fourth Amendment mali-
                cious-prosecution claim, but that line of cases developed in
                large part because of a misunderstanding of the tersely
                worded plurality opinion in Albright, 510 U. S. 266. See
                Hernandez-Cuevas v. Taylor, 723 F. 3d 91, 99 (CA1 2013)
                (noting that “dicta” in Albright led many jurisdictions to
                “recogniz[e] a Fourth Amendment malicious prosecution
                claim”). Instead of simply accepting that misreading, we
                should explain what Albright actually decided and what the
                plurality said.
                   In that case, Kevin Albright was arrested and bound over
                for trial without probable cause. The prosecution was dis-
                missed before trial, and Albright then sued under 42
                U. S. C. §1983. The District Court dismissed his suit; the
                Court of Appeals affirmed the dismissal; and when the case
                was argued in this Court, the only claim that Albright
                pressed was that his prosecution without probable cause vi-
                olated substantive due process. 510 U. S., at 268 (plurality
                opinion). He did not advance either a Fourth Amendment
                claim or a malicious-prosecution claim.
                   This Court affirmed the dismissal of Albright’s substan-
                tive due process claim, and while no opinion gained major-
                ity approval, both the four Justices who joined the plurality
                opinion and the three justices who concurred in the judg-
                ment agreed that substantive due process does not include
                the right to be free from prosecution without probable
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                                      ALITO, J., dissenting

                cause. Id., at 268, 275 (plurality opinion); id., at 282 (opin-
                ion of Kennedy, J.); id., at 286 (Souter, J., concurring in
                judgment). That is all that Albright actually decided.
                   The terse plurality opinion did make comments about the
                Fourth Amendment and malicious prosecution, and those
                comments have led to confusion in the lower courts. But a
                careful reading of the plurality opinion shows that it in no
                way suggested that the Fourth Amendment protects
                against malicious prosecution.
                   When the plurality commented on the Fourth Amend-
                ment, it was addressing Albright’s prosecution-without-
                probable-cause claim, not malicious prosecution. And in
                connection with the prosecution-without-probable-cause
                claim, the plurality made the following two points. First,
                the plurality noted that “[w]here a particular Amendment
                ‘provides an explicit textual source of constitutional protec-
                tion’ against a particular sort of government behavior, ‘that
                Amendment, not the more generalized notion of “substan-
                tive due process,” must be the guide for analyzing [the]
                claims.’ ” Id., at 273. Second, the plurality observed that
                the Fourth Amendment is the constitutional provision that
                deals with “pretrial deprivations of liberty.” Id., at 274.
                   What this discussion suggested was that if any provision
                of the Constitution provided a home for Albright’s prosecu-
                tion-without-probable-cause claim, the Fourth Amendment
                was a better bet than the Fourteenth Amendment’s Due
                Process Clause. But the plurality did not conclude or even
                suggest that a prosecution-without-probable-cause claim
                could be brought under the Fourth Amendment. See id., at
                274–275 (expressly declining to express a view on the ques-
                tion). Indeed, the plurality expressly reiterated that “the
                accused is not ‘entitled to judicial oversight or review of the
                decision to prosecute,’ ” suggesting instead that the harm to
                Albright—if any—was that he was “not merely charged”
                but also “submitted himself to arrest.” Id., at 274 (quoting
                Gerstein v. Pugh, 420 U. S. 103, 114 (1975)).
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                   As for malicious prosecution, the plurality did not even
                hint that such a claim could be brought under the Fourth
                Amendment. The plurality’s only two references to mali-
                cious prosecution appeared in the portion of the opinion
                that set out what had occurred in the lower courts. Foot-
                note 3 recounted that Albright’s complaint contained a com-
                mon-law malicious-prosecution claim but that this claim
                had been dismissed without prejudice and that this issue
                was not before the Court. 510 U. S., at 269, n. 3. Footnote
                4 then observed that there was an “ ‘embarrassing diversity
                of judicial opinion’ ” in the lower courts as to whether a ma-
                licious-prosecution claim was actionable under §1983, and
                the footnote added that substantive due process did not
                “furnish the constitutional peg on which to hang such a
                ‘tort.’ ” Id., at 270–271, n. 4. But the plurality opinion did
                not suggest that the Fourth Amendment could provide such
                a “peg,” and neither did any other Justice who concurred in
                the judgment.*
                                             B
                  Manuel v. Joliet, 580 U. S. 357, also provides no support
                for a Fourth Amendment malicious-prosecution claim.
                There, petitioner Elijah Manuel brought suit under the
                Fourth Amendment, alleging that he was arrested without


                ——————
                   *Justice Scalia’s concurring opinion made no mention of malicious
                prosecution. Justice Ginsburg mentioned malicious prosecution only
                when describing Albright’s claims, see 510 U. S., at 277, n. 1, and to note
                that it was “anomalous” that Albright sought to hold a police officer (ra-
                ther than a prosecutor) liable under a malicious-prosecution theory, id.,
                at 279, n. 5. Justice Kennedy, joined by JUSTICE THOMAS, filed an opinion
                concurring in the judgment and argued that “if a State did not provide a
                tort remedy for malicious prosecution, there would be force to the argu-
                ment that the malicious initiation of a baseless criminal prosecution in-
                fringes an interest protected by the Due Process Clause.” Id., at 286.
                But he did not suggest that a malicious-prosecution claim could be
                brought under the Fourth Amendment.
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                probable cause and then held for seven weeks without prob-
                able cause after a judge ordered him detained. Id., at 359–
                360. The Court reasoned that the Fourth Amendment pro-
                hibits “government officials from detaining a person in the
                absence of probable cause.” Id., at 367. A violation of that
                prohibition, the Court continued, may occur both “before
                the formal onset of a criminal proceeding” and “when legal
                process itself goes wrong—when, for example, a judge’s
                probable-cause determination is predicated solely on a po-
                lice officer’s false statements.” Ibid. Accordingly, the Court
                concluded that the plaintiff in that case could state a Fourth
                Amendment claim because the “judge’s order holding [him]
                for trial” was not supported by probable cause. Id., at 368.
                   Although the majority asserts that Manuel authorized
                Fourth Amendment malicious-prosecution claims, see ante,
                at 4, Manuel did no such thing. That decision expressly de-
                clined to determine “whether (and, if so, how) [petitioner’s
                Fourth Amendment claim] should resemble the malicious
                prosecution tort.” Id., at 372, n. 10. Indeed, the majority’s
                analysis here is incompatible with the analysis in Manuel,
                where the gravamen of the wrong was that petitioner was
                “detain[ed] . . . in the absence of probable cause.” Id., at
                367. Manuel thus provides no support for the Court’s sug-
                gestion that the Fourth Amendment prohibits the “initia-
                tion of charges without probable cause.” Ante, at 6.
                                               III
                  Instead of clarifying the law regarding §1983 malicious-
                prosecution claims, today’s decision, I fear, will sow more
                confusion. The Court endorses a Fourth Amendment claim
                for malicious prosecution that appears to have the following
                elements: (1) the defendant “initiat[ed]” charges against the
                plaintiff in a way that was “wrongful” and “without proba-
                ble cause,” (2) the “malicious prosecution resulted in a sei-
                zure of the plaintiff,” and (3) the prosecution must not have
                ended in conviction. Ante, at 5–6, and n. 2. This tort has
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                no precedent in Fourth Amendment law. It is markedly dif-
                ferent from the common-law tort of malicious prosecution,
                and its dimensions are uncertain.
                  First, it is not clear why this tort requires both a seizure
                and a prosecution. As noted, the two do not always go to-
                gether, and if the aim is to permit the victims of malicious
                prosecution to sue under §1983, it is not clear why detention
                should be required. While pretrial detention certainly in-
                creases the harm inflicted by a malicious prosecution, such
                a prosecution can be very damaging even if the victim is
                never detained. See, e.g., M. Bigelow, The Law of Torts 204
                (1875) (a plaintiff may show damage to “his person by im-
                prisonment, his reputation by the scandal, or . . . his prop-
                erty by the expense”). The majority’s only answer to the
                question why the claim requires a seizure is that it is
                “housed in the Fourth Amendment,” ante, at 5, n. 2, but
                that response begs the antecedent question whether the
                Fourth Amendment houses a malicious-prosecution suit at
                all.
                  Second, where the person bringing suit under §1983 is
                arrested and then prosecuted, it is not clear whether both
                the arrest and the prosecution must have been done with-
                out probable cause and without a legitimate law enforce-
                ment purpose. An arrest made without probable cause may
                be followed by a prosecution based on new evidence that
                clearly establishes probable cause. And by the same token,
                the evidence that establishes probable cause at the time of
                arrest may be thoroughly discredited at some point well be-
                fore the termination of a prosecution.
                  Third and most important, it is not clear what the Court
                means when it says that the “gravamen” of the claim is
                “wrongful initiation of charges without probable cause.”
                Ante, at 6. Since the Court refers repeatedly to “malicious
                prosecution,” one might think that this requires a guilty
                mental state, but in a footnote, the Court raises the possi-
                bility that the constitutional tort it recognizes may require
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                                       ALITO, J., dissenting

                nothing more than the absence of probable cause. See ibid.,
                n. 3.
                   If that turns out to be so, it is hard to see even the slight-
                est connection between the Court’s new tort and common-
                law malicious prosecution. Malice is the hallmark of a
                malicious-prosecution claim. Even if a prosecution is
                brought and maintained without probable cause, a
                malicious-prosecution claim cannot succeed without proof
                of malice. See supra, at 6. And if the Court’s new tort has
                nothing to do with malicious prosecution, what possible rea-
                son can there be for borrowing that tort’s favorable-termi-
                nation element?
                                              IV
                   Instead of creating a new hybrid claim, we should simply
                hold that a malicious-prosecution claim may not be brought
                under the Fourth Amendment. Such a holding would not
                leave a person in petitioner’s situation without legal protec-
                tion. Petitioner brought Fourth Amendment claims against
                respondents for false arrest, excessive force, and unlawful
                entry, but after trial a jury ruled against him on all those
                claims. See App. 142–146. Petitioner could have also
                sought relief under state law. See, e.g., Cordova, 816 F. 3d,
                at 662 (opinion of Gorsuch, J.). New York law appears to
                recognize a malicious-prosecution tort with an element very
                much like the favorable-termination element that the Court
                adopts today, see Lanning v. Glens Falls, 908 F. 3d 19, 24–
                25 (CA2 2018), but petitioner chose not to bring such a
                claim. See Tr. of Oral Arg. 40–41.
                   For these reasons, I would affirm the judgment below,
                and I therefore respectfully dissent.
